Case 22-10860-amc   Doc   Filed 01/16/25 Entered 01/16/25 12:23:55   Desc Main
                          Document      Page 1 of 7
Case 22-10860-amc   Doc   Filed 01/16/25 Entered 01/16/25 12:23:55   Desc Main
                          Document      Page 2 of 7
          Case 22-10860-amc     Doc     Filed 01/16/25 Entered 01/16/25 12:23:55             Desc Main
                                        Document      Page 3 of 7
                                       &(57,),&$7( 2) 6(59,&(

               , +(5(%< &(57,)< WKDW RQ             January 16, 2025     , HOHFWURQLFDOO\ ILOHG WKH IRUHJRLQJ ZLWK
WKH &OHUN RI &RXUW XVLQJ WKH &0(&) V\VWHP DQG D WUXH DQG FRUUHFW FRS\ KDV EHHQ VHUYHG YLD 8QLWHG 6WDWHV 0DLO
WR WKH IROORZLQJ


*HRUJH 0D\ -U
 /LQGEHUJK %OYG
3KLODGHOSKLD 3$ 

$QG YLD HOHFWURQLF PDLO WR

0,&+$(/ $ &,%,.
&LELN /DZ 3&
 :DOQXW 6WUHHW
6XLWH 
3KLODGHOSKLD 3$ 

6&277 ) :$7(50$1 >&KDSWHU @
&KDSWHU  7UXVWHH
 6W /DZUHQFH $YH
6XLWH 
5HDGLQJ 3$ 

8QLWHG 6WDWHV 7UXVWHH
2IILFH RI 8QLWHG 6WDWHV 7UXVWHH
5REHUW 1& 1L[ )HGHUDO %XLOGLQJ
 0DUNHW 6WUHHW
6XLWH 
3KLODGHOSKLD 3$ 

                                                  %\ V Savanna Pacino
                                                      BBBBBBBBBBBBBBBBB
                                                       Savanna Pacino




2IILFLDO )RUP 6                1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                           SDJH 
Case 22-10860-amc   Doc   Filed 01/16/25 Entered 01/16/25 12:23:55   Desc Main
                          Document      Page 4 of 7
Case 22-10860-amc   Doc   Filed 01/16/25 Entered 01/16/25 12:23:55   Desc Main
                          Document      Page 5 of 7
               Case 22-10860-amc           Doc     Filed 01/16/25 Entered 01/16/25 12:23:55                Desc Main
                                                   Document      Page 6 of 7
Table 4 below shows a detailed projection of future estimated escrow activity of your escrow account transactions since your last
analysis as well as a projection of future escrow activity. The double asterisk (**) next to the required balance indicates the lowest
projected balance in the analysis. This low balance is used to determine the surplus or shortage in your escrow account at the
time of this analysis.

Table 4
                                                    Payments      Disbursements     Beginning          Required
Month                       Description             Estimate         Estimate        Balance             Balance
                            Starting Balance                                        $2,942.29         $1,374.86
March 2025                                            $289.10            $0.00      $3,231.39         $1,663.96
April 2025                                            $289.10            $0.00      $3,520.49         $1,953.06
May 2025                                              $289.10            $0.00      $3,809.59         $2,242.16
June 2025                   HAZARD INS                $289.10        $1,953.07      $2,145.62          $578.19**
July 2025                                             $289.10            $0.00      $2,434.72           $867.29
August 2025                                           $289.10            $0.00      $2,723.82         $1,156.39
September 2025                                        $289.10            $0.00      $3,012.92         $1,445.49
October 2025                FLOOD INS                 $289.10          $574.00      $2,728.02         $1,160.59
November 2025                                         $289.10            $0.00      $3,017.12         $1,449.69
December 2025                                         $289.10            $0.00      $3,306.22         $1,738.79
January 2026                                          $289.10            $0.00      $3,595.32         $2,027.89
February 2026               CITY/SCHOOL               $289.10          $942.06      $2,942.36         $1,374.93
Totals                                              $3,469.20        $3,469.13

If you wish to send a written inquiry about your account or dispute any of the information on this statement, please send it to the
address listed below for Notice of Error/Information Request. If you send your Notice of Error/Information Request to any other
address, it may not be processed in accordance with the guidelines established by the Real Estate Settlement Procedures Act
(RESPA).

Important Mailing Addresses:
           General Correspondence                       Payment Remittance                   Notice of Error/Information Request
PO Box 65250 Salt Lake City, UT 84165-0250 PO Box 65450 Salt Lake City, UT 84165-0450     PO Box 65277 Salt Lake City, UT 84165-0277

                                                         ¹ Refund Information

Although our analysis determined an overage in your escrow account, a check may not be issued. This may be due to one or
more of the following.

    •      An overage refund that exceeds your current escrow balance may not be refunded in one check. Funds currently
          available and held in escrow will be refunded, but any remaining difference between the previous refund and the full
          refund will be sent once the funds become available in the escrow account. If the additional funds are not available in the
          escrow account within 30 days of this statement, please contact us to review your account to determine if any additional
          refund is available to be sent. The refund amount from statement is a projection of the funds that will be in your account
          in the future, not the amount of the funds that are currently in your account.
    •      Overages are not refunded when an account is delinquent. Please review your payment history and due date for your
          account. If it is 30 days or greater past due, an escrow refund will not be sent until the payments have been made. Once
          your mortgage payments are current, please request a refund of your escrow overage amount. Your refund amount may
          vary at that time from the amount listed on this statement as additional escrow activity may change the amount eligible for
          a refund.


If your account is set up on a monthly automatic withdrawal payment option, your monthly payment withdrawal amount will be
updated according to the adjusted payment above once the escrow analysis becomes effective. If you have any questions or
concerns, please contact our Customer Service Department. Our toll-free number is 800-258-8602 and representatives are
available Monday through Friday between the hours of 8 a.m. and 9 p.m., and Saturday from 8 a.m. to 2 p.m., Eastern Time. You
may also visit our website at www.spservicing.com.

Sincerely,

Select Portfolio Servicing, Inc.

   Esta carta contiene información importante concerniente a sus derechos. Por favor, traduzca esta carta. Nuestros
representantes bilingües están a su disposición para contestar cualquier pregunta. Llamenos al numero 800-831-0118 y
                                            seleccione/marque la opción 2.

        This information is intended for informational purposes only and is not considered an attempt to collect a debt.




                                                           See reverse side
Case 22-10860-amc   Doc   Filed 01/16/25 Entered 01/16/25 12:23:55   Desc Main
                          Document      Page 7 of 7




                               See reverse side
